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   6 Sabtecha More

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   8
                                UNITED STATES DISTRICT COURT

   9
                            CENTRAL DISTRICT OF CALIFORNIA

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  11
       SABTECHA MORE                               Case No.: 5:21-cv-00278-JGB-SHK

  12
                   Plaintiff,                      PLAINTIFF’S NOTICE OF
                                                   VOLUNTARY DISMISSAL OF
  13
             vs.                                   DEFENDANT CAPITAL ONE
                                                   BANK USA, N.A. PURSUANT TO
  14
       CAPITAL ONE BANK USA, N.A.                  FEDERAL RULE OF CIVIL
                                                   PROCEDURE 41(A)(1)
  15
                   Defendant

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  18 PLEASE TAKE NOTICE that Plaintiff Sabtecha More, pursuant to Federal Rule

  19 of Civil Procedure 41(a)(1), hereby voluntarily dismisses Defendant Capital One

  20 Bank USA, N.A. as to all claims in this action, with prejudice.

  21         Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

  22         41(a) Voluntary Dismissal

  23         (1) By the Plaintiff

  24               (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66

  25                   and any applicable federal statute, the plaintiff may dismiss an

  26                   action without a court order by filing:

  27                      (1) a notice of dismissal before the opposing party serves either

  28                            an answer or a motion for summary judgment.

                                                  1
                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
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   1        Defendant Capital One Bank USA, N.A. has neither answered Plaintiff’s
   2 Complaint, nor filed a motion for summary judgment. Accordingly, the matter may

   3 be dismissed against it for all purposes and without an Order of the Court.

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   5 Dated: May 19, 2021              Gale, Angelo, Johnson, & Pruett, P.C.
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                                          By:        /s/ Joe Angelo
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                                                       Joe Angelo
   8                                      Attorneys for Plaintiff
   9                                      Sabtecha More
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                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
